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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                   (EASTERN DIVISION)


MICHELLE TIMMONS,                              )
                                               )
         Plaintiff,                            )
                                               )
vs.                                            )       Cause No.
                                               )
ST. LOUIS GASTROENTEROLOGY                     )
CONSULTANTS, P.C., and                         )
ST. ANTHONY’S MEDICAL CENTER,                  )
                                               )
         Defendants.                           )


                      COMPLAINT AND DEMAND FOR JURY TRIAL
         Now comes the plaintiff, MICHELLE TIMMONS, by her attorneys, STRELLIS
& FIELD, CHARTERED, and for her complaint states as follows:

       COUNT I: ST. LOUIS GASTROENTEROLOGY CONSULTANTS, P.C.
                 (MEDICAL MALPRACTICE/NEGLIGENCE)

         Now comes the Plaintiff, MICHELLE TIMMONS, by her attorneys, STRELLIS &

FIELD, CHARTERED, and for her cause of action against the Defendant, ST. LOUIS

GASTROENTEROLOGY CONSULTANTS, P.C., states as follows:

         1.      The plaintiff is a citizen and resident of Monroe County, Illinois in the Southern

District of Illinois.

         2.      Jurisdiction of this Court is invoked pursuant to Title 28 United States Code,

Section 1332(a). The matter in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00).

         3.      Plaintiff had previously filed an action in this court entitled “Michelle Timmons

v. St. Louis Gastroenterology Consultants, P.C., et al.,” Cause No. 08-CV-954, wherein said

cause was voluntarily dismissed without prejudice on February 8, 2010.



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       4.      At times pertinent hereto, the defendant, ST. LOUIS GASTROENTEROLOGY

CONSULANTS, P.C., was a professional corporation engaged in the practice of medicine in the

County of St. Louis, in the Eastern District of Missouri.

       5.      On September 6, 2006, plaintiff, MICHELLE TIMMONS, was admitted to St.

Anthony’s Medical Center Emergency Department for sudden onset of severe abdominal pain.

       6.      On September 6, 2006, a CT scan was performed on the plaintiff, which revealed

a dilated loops of small bowel along with the free fluid in the pelvis.

       7.      At the time, the plaintiff became a patient under the care of the defendant, ST.

LOUIS GASTROENTEROLOGY CONSULTANTS, P.C., that had a duty to administer proper

and adequate medical care to the plaintiff, MICHELLE TIMMONS, by diagnosing and

delivering surgical consultation and care to the plaintiff, MICHELLE TIMMONS.

       8.      With plaintiff having said condition as set forth above in paragraphs five (5) and

six (6), the defendant, ST. LOUIS GASTROENTEROLOGY CONSULTANTS, P.C., by and

through its agents, employees and/or servants, was guilty of negligence in one or more of the

following instances: (a) failing to consider other possible etiologies of the source of plaintiff’s

abdominal pain as they initially focused on the upper gastrointestinal tract; (b) failing to take into

account the findings of dilated loops of small bowel along with the free fluid in the pelvis seen

on the CT scan of September 6, 2006; (c) failing to consider alternative diagnosis as plaintiff

continued to have symptoms of nausea, vomiting and abdominal pain during the period of time

the defendant provided care to the plaintiff; (d) failing to consider alternative diagnosis as

additional information from diagnostic imaging studies suggested the presence of a small bowel

obstruction; and, (e) failing to obtain surgical consultation in a timely fashion.

       9.      As a proximate result of either one or more of the aforesaid negligent acts or

omissions referred to in paragraph 8, an operative procedure was conducted on September 14,



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2006, upon the plaintiff, MICHELLE TIMMONS, for perforation of gangrenous small bowel,

with abscess formation, peritonitis, vaginal cuff erosion and sepsis and Plaintiff, MICHELLE

TIMMONS, sustained severe and permanent injuries, both physically and mentally. By reason

of the injuries, she has suffered and will suffer pain, disability and economic damages.

        WHEREFORE, plaintiff, MICHELLE TIMMONS, prays for the entry of a verdict by a

jury against the Defendant, ST. LOUIS GASTROENTEROLOGY CONSULTANTS, P.C., in an

amount of One Million Dollars ($1,000,000.00), plus costs of suit.

                  COUNT II: ST. ANTHONY’S MEDICAL CENTER
                    (MEDICAL MALPRACTICE/NEGLIGENCE)

        Now comes the Plaintiff, MICHELLE TIMMONS, by her attorneys, STRELLIS &

FIELD, CHARTERED, and for her cause of action against the Defendant, ST. ANTHONY’S

MEDICAL CENTER, a corporation, states as follows:

        1.       The plaintiff is a citizen and resident of Monroe County, Illinois in the Southern

District of Illinois.

        2.       Jurisdiction of this Court is invoked pursuant to Title 28 United States Code,

Section 1332(a). The matter in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00).

        3.       Plaintiff had previously filed in action in this court entitled “Michelle Timmons v.

St. Louis Gastroenterology Consultants, P.C., et al.,” Cause No. 08-CV-954, wherein said cause

was voluntarily dismissed without prejudice on February 8, 2010.

        4.       At times pertinent hereto, the defendant, ST. ANTHONY’S MEDICAL

CENTER, a corporation, maintained and operated a facility in the County of St. Louis in the

Eastern District of Missouri, and said defendant through its partners, agents, employees and

servants, held itself out and represented itself to be skillful and careful in rendering medical care

and treatment.


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       5.      On September 6, 2006, plaintiff, MICHELLE TIMMONS, was admitted to St.

Anthony’s Medical Center Emergency Department for sudden onset of severe abdominal pain.

       6.      On September 6, 2006, a CT scan was performed on the plaintiff which revealed a

dilated loops of small bowel along with the free fluid in the pelvis.

       7.      At the time, the plaintiff became a patient under the care of the defendant, ST.

ANTHONY’S MEDICAL CENTER, that had a duty to administer proper and adequate medical

care to the plaintiff, MICHELLE TIMMONS, by diagnosing and delivering surgical consultation

and care to the plaintiff, MICHELLE TIMMONS.

       8.      With plaintiff having said condition as set forth above in paragraph five (5) and

six (6), the defendant, ST. ANTHONY’S MEDICAL CENTER, by and through its agents,

employees and or servants, was guilty of negligence in one or more of the following instances:

(a) failing to consider other possible etiologies of the source of plaintiff’s abdominal pain as they

initially focused on the upper gastrointestinal tract; (b) failing to take into account the findings of

dilated loops of small bowel along with the free fluid in the pelvis seen on the CT scan of

September 6, 2006; (c) failing to consider alternative diagnosis as plaintiff continued to have

symptoms of nausea, vomiting and abdominal pain during the period of time that defendant

provided care to the plaintiff; (d) failing to consider alternative diagnosis as additional

information from diagnostic imaging studies suggested the presence of a small bowel

obstruction; (e) failing to obtain surgical consultation in a timely fashion; and, (f) failing to

perform surgery in a timely manner.

       9.      As a proximate result of either one or more of the aforesaid negligent acts or

omissions referred to in paragraph 8, an operative procedure was conducted on September 14,

2006, upon the plaintiff, MICHELLE TIMMONS, for perforation of gangrenous small bowel,

with abscess formation, peritonitis, vaginal cuff erosion and sepsis and Plaintiff, MICHELLE



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TIMMONS, sustained severe and permanent injuries, both physically and mentally. By reason

of the injuries, she has suffered and will suffer pain, disability and economic damages.

               WHEREFORE, plaintiff, MICHELLE TIMMONS, prays for the entry of a

verdict by a jury against the Defendant, ST. ANTHONY’S MEDICAL CENTER, a corporation,

in an amount of One Million Dollars ($1,000,000.00), plus costs of suit.

                                             STRELLIS & FIELD, CHARTERED,



                                             BY      /s/ Jack A. Strellis
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PLAINTIFF DEMANDS
TRIAL BY JURY




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